
27 So. 3d 773 (2010)
Trod O. BUGGS, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D09-4615.
District Court of Appeal of Florida, Fifth District.
February 12, 2010.
Trod O. Buggs, Crawfordville, pro se.
*774 Bill McCollum, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from the order denying the rule 3.800 motion in Case No. 1995-CF-000123-A in the Circuit Court in and for Lake County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
MONACO, C.J., LAWSON, and EVANDER, JJ., concur.
